Case 3:05-cr-00032-TAV-HBG   Document 448   Filed 05/29/07   Page 1 of 5   PageID
                                   #: 495
Case 3:05-cr-00032-TAV-HBG   Document 448   Filed 05/29/07   Page 2 of 5   PageID
                                   #: 496
Case 3:05-cr-00032-TAV-HBG   Document 448   Filed 05/29/07   Page 3 of 5   PageID
                                   #: 497
Case 3:05-cr-00032-TAV-HBG   Document 448   Filed 05/29/07   Page 4 of 5   PageID
                                   #: 498
Case 3:05-cr-00032-TAV-HBG   Document 448   Filed 05/29/07   Page 5 of 5   PageID
                                   #: 499
